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                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION


 UNITED STATES OF AMERICA,                        §
                                                  §
                                                  § CASE NUMBER 6:09-CR-00009-RC
 v.                                               §
                                                  §
                                                  §
 MICHAEL DAIN BONNER                              §
                                                  §



                           REPORT & RECOMMENDATION OF
                          UNITED STATES MAGISTRATE JUDGE

        On October 25, 2016, the Court conducted a hearing to consider the government’s

 petition to revoke the supervised release of Defendant Michael Dain Bonner. The government

 was represented by Ryan Locker, Assistant United States Attorney for the Eastern District of

 Texas, and Defendant was represented by Kelly Pace.

        Defendant originally pled guilty to the offense of Possession with Intent to Distribute

 Methamphetamine, a Class B felony. The offense carried a statutory maximum imprisonment

 term of 40 years. The United States Sentencing Guideline range, based on a total offense level

 of 25 and a criminal history category of IV, was 84 to 105 months. On February 2, 2010,

 District Judge Leonard Davis sentenced Defendant to 84 months imprisonment followed by 4

 years of supervised release subject to the standard conditions of release, plus special conditions

 to include financial disclosure and substance abuse treatment. On June 18, 2014, Defendant

 completed the term of imprisonment and began his term of supervised release.

        Under the terms of supervised release, Defendant was required to refrain from

 committing another federal, state, or local crime. In its petition, the government alleges that


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 Defendant violated his condition of supervised release by committing the offense of Felon in

 Possession of a Firearm.

        If the Court finds by a preponderance of the evidence that Defendant violated the

 conditions of supervised release by committing the offense of Felon in Possession of a Firearm,

 Defendant will have committed a Grade B violation. U.S.S.G. § 7B1.1(a). Upon a finding of a

 Grade B violation, the Court shall revoke probation or supervised release.            U.S.S.G. §

 7B1.3(a)(1).    Considering Defendant’s criminal history category of IV, the Guideline

 imprisonment range for a Grade B violation is 12 to 18 months. U.S.S.G. § 7B1.4(a).

        At the hearing, the parties indicated that they had come to an agreement to resolve the

 petition whereby Defendant would plead true to violating the conditions of supervision by

 committing the offense alleged above. In exchange, the government agreed to recommend a

 sentence of 12 months and one day to be served consecutively to the term of imprisonment

 imposed in case number 6:15-cr-0004-001.      The government further agreed to dismiss the

 remaining allegations in the petition.

        Pursuant to the Sentencing Reform Act of 1984, the Court RECOMMENDS that

 Defendant Michael Dain Bonner be committed to the custody of the Bureau of Prisons for a term

 of imprisonment of 12 months and and 1 day, to be served consecutively to the term of

 imprisonment imposed in case number 6:15-cr-0004-001.




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          So ORDERED and SIGNED this 25th day of October, 2016.




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